UNITEI) sTATEs DISTRICT COURT EASTERN DISTRICT 0F TENLF§‘§L E D

STATE FARM FIRE AND CASUALTY COMPANY, AUG 1 9 mg

Plaintiff, C|erk, U. S. District Court
Eastern District ot Tennessee

V- No.: m Knoxviue

DAVID JoNEs, G & A TRUCKING, INC., 5 - O Q -Cl/“ 3 Q)<K

DENNIS MYERS and SUZANNE MYERS, PW g { 6 §
Defendants. wl i

COMPLAINT

Con'les State Farrn Fire and Casualty Company (hereinafter referred to as "SFFCC") and
files this Complaint for declaratory judgment that there is no coverage available, and thus, no
duty to indemnify Defendants David J ones (hereinafter referred to as "Jones") and/ or G & A
Trucking, lnc. (hereinafter referred to as "G & A") under a certain policy of liability insurance

SFFCC Would show the Court as follows:
MILLES_
l. SFFCC is a fire and casualty insurance company With headquarters and principal

place of business in Bloomington, Illinois, but is qualified to do business in Tennessee.

2. J ones is a resident of the state of Kentucky and may be served with process at 67
Williarnsburg Street, Whitley City, Kentucky 42653.

3. G & A is a corporation, licensed and authorized to do business in Tennessee.

G & A may be served with process via its agent for service of process, Dennis E. Jeffers or

other chief corporate representative, 190 Anderson Street, Oneida, Tennessee 37841.

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4. Dennis Myers (hereinafter referred to as "Mr. Myers") is a resident of
Jamestown, Tennessee and may be served with process at 1041 Bill Black Road, Jamestown,
Tennessee 3 8556.

5. Suzanne Myers (hereinafter referred to as "Mrs. Myers") is a resident of
Jamestown, Tennessee and may be served with process at 1041 Bill Black Road, Jamestown,
Tennessee 38556. Hereinafter Mr. Myers and Mrs. Myers shall collectively be referred to as
"Defendants Myers"). Hereinafter Jones, G & A, and Defendants Myers shall collectively be
referred to as "Defendants").

B. JURSIDICTION AND VENUE

6. Jurisdiction is predicated upon diversity of citizenship as described in 28 M§
1332, there being complete diversity of citizenship between the lllinois Plaintiff (SFFCC), the
Kentucky Defendant (Jones), and the Tennessee Defendants (G & A and Defendants Myers).
J'urisdiction is further predicated under 28 U.S.C. § 2201.

7. The amount in controversy exceeds seventy-five thousand dollars ($75,000.00),

exclusive of interest and costs.

8. Jurisdiction and venue are proper in this Honorable Court.
C. FACTS
9. On or about December 16, 2005, a motor vehicle collision occurred in Scott

County, Tennessee in which Mr. Myers was operating a vehicle owned by G & A. The vehicle

operated by Mr. Myers collided with a vehicle being operated by Jones, which was also owned

byG&A.

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10. On or about the aforementioned date and at all times material and relevant herein,
Mr. Myers and J ones were employees of G & A and were within the scope and course of their

employment with G & A.

ll. On or about the aforementioned date and at all times material and relevant herein,

J ones and Mr. Myers were operating the vehicles owned by G & A with the permission and

consent of G & A and during the course and scope of their employment with G & A.
12. Mr. Myers made a workers' compensation claim against G & A, regarding the

injuries that he claims to have sustained in the aforementioned collision.

13. On April 7, 2007, Mr. Myers filed a petition in the Chancery Court of Knox
County, Tennessee, seeking approval of a workers' compensation settlement entered into
between "Employee and the Employer." (Petition for Workers' Compensation Settlement,
attached hereto as Exhibit A).

14. Paragraph l of the petition avers that Mr. Myers was an employee of G & A.

15. Paragraph II of the petition avers that Mr. Myers "was involved in an accident,
arising out of and in the course of his employment with G & A Trucking."

16. Mr. Myers signed the above-referenced petition.

17. On April 4, 2007, a Final Decree was entered in Mr. Myers' workers'
compensation case. (Final Decree, attached hereto as Exhibit B).

18. The Final Decree indicates that the Chancellor examined Mr. Myers to confirm

his understanding of the workers' compensation settlement; the voluntary nature of the

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settlement; and to confirm that the settlement is in the "employee's" best interests.

19. The Final Decree further recites that Mr. Myers "was involved in an accident

within the course and scope of his employment."
20. Mr. Myers signed the Final Decree.

21. On or about December 14, 2006, Mr. Myers and Mrs. Myers instituted a lawsuit

in the Circuit Court of Scott County, Tennessee, Styled Dennis Myers and Suzanne Myers v.

David G. Jones, G & A Trucking and Scott Countv and pending as Docket No. 7162. (A copy

of the Circuit Court Complaint is attached hereto as Exhibit C).

22. Defendants Myers' Circuit Court Complaint sued G & A, J ones and Scott
County for two million, seven hundred fifty thousand dollars ($2,750,000.00) in compensatory

damages

23. Subsequently, SFFCC sent reservation of rights letter(s) to Jones, G & A, and

Mr. Myers.

24. G & A and J ones later filed a motion for summary judgment in the underlying
action based upon the exclusive remedy provisions of Tennessee’s Workers’ Compensation

Act.

25. On or about August 5, 2008, summary judgment was granted as to G & A
because “Plaintiff Dennis Myers, is an employee of G & A Trucking, lnc. pursuant to the
Tennessee Worker’s compensation Act, and was injured while in the course and scope of his
employment pursuant to the Tennessee worker’s Compensation Act.” The underlying Court

found that there were facts in dispute as to whether J ones was an independent contractor.

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26.The SFFCC policy number S94 3318-C29-42R [Form 9942.4] (hereinafter referred
to the "Policy") issued to G & A provided in relevant part at page 8, under the Section
identified as "When Coverage A Does Not Apply," as follows:

THERE IS NO COVERAGE:
2. FOR ANY BODILYINJURY TO:

a. A FELLOW EMPLOYEE WHILE ON THE ]OB AND ARISING FROM
THE MAINTENANCE OR USE OF A VEHICLE BY ANOTHER
EMPLOYEE IN THE EMPLOYER'S BUSINESS. . . .

b. ANY EMPLOYEE C|F AN INSURED ARISING OUT OF HIS OR
HER EMPLOYMENT. . . .

5. FOR ANY OBLIGATION OF AN INSURED, OR HIS OR HER INSURER,
UNDER ANY TYPE OF WORKERS' COMPENSATION OR DISABILITY OR SlMILAR
LAW.

27. Based upon: (1) the fact that J ones and Mr. Myers were employees of G & A;
(2) the fact that Mr. Myers was injured within the scope and course of his employment with
G & A and that these injuries arose from the maintenance or use of a vehicle by J ones in G &
A’s business; and (3) the fact that Mr. Myers received worker’s compensation benefits,
regarding his on the job injuries, there is no coverage under the Policy.

28. Based upon the foregoing, SFFCC respectfully would show the Court that
there is no coverage under the Policy with respect to the pending tort litigation and that there
is no coverage for J ones and G & A, regarding said tort litigation and the claims of

Defendants' Myers.

D. PRAYERS FOR RELIEF

WHEREFORE, SFFCC prays that process issue and be served upon Defendants,

requiring them to answer this complaint; and FURTHER, SFFCC prays that a declaratory

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judgment issue holding and declaring that based upon the facts and circumstances described
herein and the provisions of the Policy, there is no coverage to G & A and J ones under said
policy, and further specifically declaring that there is no duty to indemnify any of the named
Defendants in the underlying tort litigation; and further, SFFCC prays for all general relief

provided by law.

Respectfully submitted this the 19th day of Auggst, 2009.

s. Dougi. ;~/'irinnon (B.P.R.# 018629)
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Attomey for State Farrn Fire and Casualty Company

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